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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

  MABELLE MEYAART
  a/k/a MAI MEYAART
                                                         Case Number: 9:18-cv-80257-RLR

         Plaintiff,

  v.

  TRAVEL LEADERS GROUP, LLC,
  d/b/a and s/k/a TRAVEL LEADERS GROUP,
  NINAN CHACKO and JOHN LOVELL,

        Defendants.
  ______________________________________/

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Rule 41(1)(A)(ii), Plaintiff, Mabelle “Mai” Meyaart and Defendants, Travel

  Leaders Group, LLC d/b/a and s/k/a Travel Leaders Group, Ninan Chacko, and John Lovell,

  hereby jointly stipulate to the dismissal of all of Plaintiff’s claims against all Defendants with

  prejudice, with each party to bear her/its own attorney’s fees and costs.

   Dated: August 30, 2018


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                                        SERVICE LIST
         I HEREBY CERTIFY that on this 30th day of August, 2018, the foregoing document was

  served on all counsel of record in via transmission of Notice of Electronic Filing generated by

  CM/ECF.

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